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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                    ELKINS DIVISION

 JESSICA TENNEY,

        Plaintiff,                                           Case No. 2:19-CV-46-TSK

 v.

 RADIUS GLOBAL SOLUTIONS, LLC,

       Defendants.
 ________________________________________/

                            STIPULATED PROTECTIVE ORDER

        The Plaintiff, Jessica Tenney (“Plaintiff”) and the Defendant Radius Global Solutions, LLC

 (“Defendant”) hereby stipulate to entry of this Protective Order for the purpose of maintaining and

 protecting the confidentiality and proprietary nature of documents and other information that the

 Parties may produce voluntarily or may be required to produce in this proceeding.

        ACCORDINGLY, IT IS HEREBY STIPULATED AND AGREED:

        (1)     This Agreement shall govern all documents and/or electronic data produced by any

 of the Parties in this action pursuant to a formal or informal discovery request of another Party,

 which documents are not otherwise in the possession of the non-producing Party (the

 “Documents”).

        (2)     “Confidential Information” as used herein means any type or classification of

 information which is designated as "CONFIDENTIAL" in the manner described in paragraph 4

 by the producing Party, including but not limited to (a) all documents, things, electronic

 information and copies thereof, (b) answers to interrogatories and responses to requests for

 admissions, and (c) all testimony given in this action by the Parties, their officers, consultants,
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 experts, directors, agents, and/or employees, whether by deposition or at a hearing or trial, which

 this Agreement or a Party so designates, including all transcripts thereof.

        (3)     A producing Party may designate as CONFIDENTIAL any information which the

 producing Party in good faith believes contains intellectual property, a trade secret, or other

 confidential research, development, financial, personal or commercial information of the

 producing Party.

        (4)     Any document or portion thereof or any other form of information contemplated

 under the Federal Rules of Civil Procedure or the Federal Rules of Evidence, or otherwise

 produced by any Party in this action, for which a claim of confidentiality is made at the time of

 production shall be designated by the producing Party as CONFIDENTIAL. At the time it is

 produced for inspection by counsel, it is sufficient designation for this purpose that an individual

 item produced bears a written label marked “CONFIDENTIAL” and any object, file or document

 so marked shall be handled as hereinafter set forth. If any information is produced on any

 electronic storage device or other electronic medium of any kind, or through transmission over the

 internet, a designation of “CONFIDENTIAL” either on or with such device, medium or

 transmission shall be sufficient to designate all information contained on or transmitted through

 such device, medium or transmission as Confidential Information, and any information contained

 on or transmitted through such device, medium or transmission so marked shall be handled as

 hereinafter set forth. Any documents, electronic information or copies thereof or other information

 designated as CONFIDENTIAL in accordance with this paragraph shall be subject to the terms of

 this Agreement.
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         (5)     "Qualified Persons" as used herein means any of the following.

         (a)     The Parties to this action and the employees, officers and directors of the Parties

 who have a need to review the Information in connection with this action;

         (b)     counsel involved in this action, including all counsel of record in this action and

 other counsel engaged or employed by any of the Parties and advising or assisting any of the Parties

 in this case;

         (c)     any litigation assistant or paralegal employed by and assisting counsel involved in

 this action, and stenographic, secretarial or clerical personnel employed by and assisting such

 counsel in this action;

         (d)     consulting or testifying experts who are assisting counsel in the prosecution or

 defense of this action;

         (e)     any litigation assistant, paralegal, stenographic, secretarial or clerical personnel

 employed by an expert described in section (c) of this paragraph to assist such expert in this action;

         (f)     any employee, officer, director, manager, member, agent or other representative of

 a Party or Party’s affiliate who provides assistance to a Party’s counsel or otherwise participates

 in the defense or prosecution of this litigation;

         (g)     any court reporter or typist recording or transcribing testimony in this action;

         (h)     any employee of a company retained by any counsel involved in this action to

 provide litigation support services; and

         (i)     Any witness at a deposition or trial;

         (j)     The Court in this action and all personnel employed by the Court and involved in

 this action.
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        (6)     Only Qualified Persons may have access to Confidential Information produced by

 the other Party to this action. Written consent by all Parties to this Agreement or prior leave of

 Court must be obtained for anyone other than a Qualified Person to access Confidential

 Information.

        (7)     A Party that receives Confidential Information pursuant to a formal or informal

 discovery request to another Party shall use such Confidential Information only in connection with

 this litigation and shall not use such Confidential Information for any other purpose.

        (8)     Before any Party may provide access to or disclose any Confidential Information

 to any Qualified Person described in sections 5(c), 5(d), 5(e) of 5(f), such Qualified Person must

 agree in writing to be bound by the terms of this Agreement by executing the form attached hereto

 as Exhibit “A”.

        (9)     When any testimony is given by any witness at a deposition, hearing, or trial in this

 action, the testimony and the entire transcript containing any such testimony shall be treated as

 Confidential Information until the date that is fourteen (14) days after the issuance of the transcript

 of such deposition, hearing, or trial. After any deposition, hearing or trial is conducted and a

 transcript of such proceeding is issued by the court reporter, all Parties to this action have fourteen

 (14) days from the issuance of the transcript to designate any portion of the transcript as

 CONFIDENTIAL and to notify all other Parties of such designation. Any portions of any

 deposition, hearing or trial transcript designated as CONFIDENTIAL pursuant to this paragraph

 shall thereafter be treated by all Parties as Confidential Information pursuant to this Agreement.

        (10)    Exhibits to depositions in this action containing Confidential Information shall be

 marked as CONFIDENTIAL at or prior to the time the court reporter marks them for identification,

 and shall be treated by all Parties as Confidential Information pursuant to this Agreement. Before
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 any Party requests that a court reporter mark an exhibit for identification, the other Parties shall be

 entitled to review the exhibit and mark it as CONFIDENTIAL pursuant to this Agreement.

        (11)    Only Qualified Persons authorized to access Confidential Information and the

 witness shall be present during any testimony, whether in a deposition, hearing or any other

 proceeding, in which Confidential Information is discussed. Counsel for any Party may exclude

 from the room during a deposition, hearing or other proceeding, any person (other than the witness

 who is then testifying) who is not entitled under this Order to receive Confidential Information.

        (12)    Any court reporter or transcriber who reports or transcribes testimony in this action

 at a deposition shall agree by a statement on the record, before recording or transcribing any

 testimony, that all testimony and information revealed at the deposition is and shall remain

 confidential and shall not be disclosed by such reporter or transcriber except to the attorneys for

 each Party and any other person who is present while such testimony is being given, and that copies

 of any transcript, reporter’s notes or any other transcription records of any such testimony shall be

 retained confidentially by such reporter or transcriber except as provided in this Agreement.

        (13)    The inadvertent or unintentional production of information containing Confidential

 Information, without being designated as “CONFIDENTIAL” at the time of the production, shall

 not be deemed a waiver, in whole or in part, of a Party’s claim to the confidentiality or secrecy of

 the documents or information produced. A Party must correct any designation error as soon as

 reasonably possible after the designating Party becomes aware of the error by advising in writing

 the persons to whom such information has been disclosed or produced. The Party making the

 designation must provide another copy of the information that bears the new and correct

 designation to persons who may properly receive such information under this Agreement. All

 persons who received the information without a CONFIDENTIAL designation shall destroy the
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 undesignated Confidential Information, including all electronic copies of such information and all

 emails containing such information. Counsel for any Party required to destroy Confidential

 Information under this paragraph must certify to counsel for the producing Party that the receiving

 Party has in fact destroyed all such Confidential Information, including all electronic copies of

 such information and all emails containing such information.

        (14)    In designating information as CONFIDENTIAL, the producing Party will make

 such designation only as to that information which the producing Party in good faith believes to

 qualify as confidential under paragraph 3 of this Agreement.

        (15)    A Party shall not be obligated to challenge the propriety of a confidentiality

 designation at the time made, and a failure to do so shall not preclude a subsequent challenge

 thereto. In the event that any Party to this litigation objects to the designation of any information

 as “CONFIDENTIAL”, the objecting Party may give written notice of such objection to the

 designating Party. The Parties shall attempt to resolve such dispute in good faith on an informal

 basis. If a dispute with respect to the designation of documents or information as

 “CONFIDENTIAL” cannot be resolved within fourteen (14) days of the date that written notice

 of an objection is provided by the objecting Party to the designating Party, the objecting Party may

 then seek an order from the Court removing the CONFIDENTIAL designation from such

 information. The document or information shall remain “CONFIDENTIAL” until the Court rules

 on the objecting Party’s request to remove the CONFIDENTIAL designation.

        (16)    Nothing in this Agreement shall prevent any Party from filing with the Court any

 document that has been designated as CONFIDENTIAL that the Party determines is relevant to

 any motion, claim, or defense at issue in this action. In the event that any Confidential Information

 is used in any court proceeding, it shall not lose its status as Confidential Information merely
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 through such use in conformance with this Agreement, and the Parties shall take all steps

 reasonably required to protect its confidentiality during such use.

        (17)    Within sixty (60) days after the conclusion of this action, including all appeals, each

 Party, each Party’s counsel and all other Qualified Persons possessing Confidential Information

 will destroy all Confidential Information in their possession, including all electronic copies of such

 information and all emails containing such information. Each Party, each Party’s counsel and all

 other Qualified Persons must give notice in writing to all other Parties that they have complied

 with their obligations under this paragraph.

        (18)    For purposes of paragraphs 13 and 17 of this Order, the requirement to destroy

 electronic information and emails shall be satisfied if all such electronic information and emails

 are deleted from the email inbox, hard drive and/or other electronic storage medium of all Qualified

 Persons possessing copies of such information. No physical destruction or alteration of hard drives

 or any other electronic storage medium shall be required.

        (19)    This Order is intended to facilitate the flow of discovery materials and to expedite

 the resolution of discovery disputes between or among the Parties. Neither the entry of this

 Agreement, the consent of the Parties to entry of this Agreement, the designation by the Parties of

 materials pursuant to this Agreement, or the failure of any Party to challenge a confidentiality

 designation shall raise any inference or constitute any evidence of the existence of any trade secrets

 or confidential business information.

        (20)    This Agreement shall not affect the rights of the Parties to object to discovery on

 grounds other than those related to the confidentiality of documents, nor shall it relieve a Party of

 the necessity of proper response or objection to discovery requests, nor shall it limit or preclude

 any Party from bringing a motion to compel discovery in this proceeding or seeking further relief
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 or protective orders from the Court as may be appropriate under the Federal Rules of Civil

 Procedure.

          (21)   Any Party seeking to enforce the terms of this Agreement shall have the right to

 seek appropriate sanctions with the Court, including, but not limited to, money damages and

 equitable relief.

          (22)   This Agreement does not preclude any Party from using or disclosing its own

 confidentially designated documents or materials for any purpose.

          (23)   The Parties confirm by their signature that they have received a copy of this

 Agreement, have read it, understand it, and agree to be bound by it. The Parties hereby consent

 and submit to the jurisdiction of the United States District Court for the Northern District of West

 Virginia, to enforce, and to resolve all questions relating to interpretation or enforcement of this

 Order.

                        19th
          Entered this ________day of June, 2020.


                                                      /s/ Thomas S. Kleeh
                                                      ____________________________________
                                                      Honorable Thomas S. Kleeh
                                                      U.S. District Judge


 Submitted by:


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  Approved by:


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